     Case 2:16-cr-00020-TLN-DB Document 70 Filed 11/30/17 Page 1 of 3


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5    Attorneys for Defendant
     MARTY MARCIANO BOONE
6
7
8                                 UNITED STATES DISTRICT COURT
9                                EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                   )   Case No. 2:15-MC-061 JAM
                                                 )
11                        Plaintiff,             )   STIPULATION AND ORDER TO UNSEAL
                                                 )   GOVERNMENT’S EX PARTE
12         v.                                    )   APPLICATION FOR TOLLING OF
                                                 )   STATUTE OF LIMITATIONS,
13   MARTY MARCIANO BOONE and                    )   SUPPORTING DOCUMENTS, AND COURT
     RONDA BOONE,                                )   ORDER GRANTING MOTION
14                                               )
                          Defendants.            )
15
16
            IT IS HEREBY STIPULATED by and between Phillip A. Talbert, United States
17
     Attorney, through Jared Dolan Assistant United States Attorney, attorney for Plaintiff, and
18
     Heather Williams, Federal Defender, through Assistant Federal Defender, Hannah R. Labaree,
19
     attorneys for Marty Marciano Boone, and Ronda Boone, Pro Se, that the following sealed
20
     documents be unsealed by this Court and filed on the public record of criminal case number
21
     2:16-cr-020 TLN:
22
            1. The government’s Ex Parte Application for Tolling Statute of Limitations Pursuant to
23             18 U.S.C. § 3292;
            2. The Memorandum in Support of Ex Parte Application for Order Tolling Statute of
24
               Limitations Pursuant to 18 U.S.C. § 3292;
25          3. Affidavit of Arlette Lee in Support of Application for Order Tolling Statute of
               Limitations;
26          4. Declaration of Jared C. Dolan in Support of Application for Order Tolling Statute of
               Limitations and Exhibit A thereto “Foreign Assistance Request”);
27          5. Order Granting Ex Parte Application for Order Tolling Statute of Limitations;
28          6. Government’s Motion to File Under Seal the above-listed documents.

                                                     -1-
     Case 2:16-cr-00020-TLN-DB Document 70 Filed 11/30/17 Page 2 of 3


1    See Ex. A.
2              These documents were filed May 28, 2015, in front of Judge Mendez, while grand jury
3    proceedings were in progress under the above-captioned grand jury case number. On June 1,
4    2015, Judge Mendez granted the request for sealing pursuant to the requirements of Federal Rule
5    of Criminal Procedure 6(e), which provides for secrecy of grand jury proceedings.
6              At least one Defense motion hinges on the above documents, and thus directly cites those
7    documents. Pursuant to prior court order, Defense motions are due Thursday, November 30,
8    2017. CR 68. Unsealing of the above-listed documents is necessary to allow the defendants an
9    opportunity to vindicate their rights as they relate to the instant criminal charges, as reference to
10   the above-documents will be necessary to comprehend and adjudicate forthcoming defense
11   motions. The parties also request that the court clerk file the instant motion on the criminal case
12   docket.
13   IT IS SO STIPULATED.
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15                                                  Respectfully submitted,
16                                                  HEATHER E. WILLIAMS
                                                    Federal Defender
17
18
     DATED: November 28, 2017                       /s/ Hannah R. Labaree
19                                                  HANNAH R. LABAREE
                                                    Assistant Federal Defendant
20                                                  Attorney for Defendant
                                                    MARTY MARCIANO BOONE
21
22   DATED: November 28, 2017                       /s/ Ronda Boone
                                                    RONDA BOONE
23                                                  PRO SE

24   DATED: November 28, 2017                       PHILLIP A. TALBERT
                                                    United States Attorney
25
26                                                  /s/ Jared Dolan
                                                    JARED DOLAN
27                                                  Assistant United States Attorney
                                                    Attorney for Plaintiff
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                                                      -2-
     Case 2:16-cr-00020-TLN-DB Document 70 Filed 11/30/17 Page 3 of 3


1                                                  ORDER
2           The Court, having received, read, and considered the stipulation of the parties, and good
3    cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order. The
4    Court orders the below-listed documents UNSEALED, and directs the clerk to file them on the
5    public record in case 2:16-cr-020 TLN. The Court further directs the clerk to file the instant
6    motion on the public record in case 2:16-cr-020 TLN.
7           1. The government’s Ex Parte Application for Tolling Statute of Limitations Pursuant to
               18 U.S.C. § 3292;
8           2. The Memorandum in Support of Ex Parte Application for Order Tolling Statute of
9              Limitations Pursuant to 18 U.S.C. § 3292;
            3. Affidavit of Arlette Lee in Support of Application for Order Tolling Statute of
10             Limitations;
            4. Declaration of Jared C. Dolan in Support of Application for Order Tolling Statute of
11             Limitations and Exhibit A thereto “Foreign Assistance Request”);
            5. Order Granting Ex Parte Application for Order Tolling Statute of Limitations;
12
            6. Government’s Motion to File Under Seal the above-listed documents.
13
14   Dated: November 29, 2017                       /s/ JOHN A. MENDEZ
                                                    Hon. John A. Mendez
15                                                  United States District Court Judge
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